WASHINGTON COUNTY SHERIFF’S OFFICE                                                    US POSTAGE    'PITNEY BOWES


         Keith Sexton, Sheriff
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